Case 4:23-cv-01110-P Document 51 Filed 03/21/24   Page 1 of 57 PageID 981



                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS
                        FORT WORTH DIVISION

AMERICAN HOSPITAL ASSOCIATION, et al.,


                     Plaintiffs,

v.                                          Case No. 23-CV-1110-P

XAVIER BECERRA, et al.,


                     Defendants,


             DEFENDANTS’ COMBINED BRIEF IN OPPOSITION TO
     PLAINTIFFS’ MOTION FOR SUMMARY JUDGMENT AND IN SUPPORT OF
          DEFENDANTS’ CROSS-MOTION FOR SUMMARY JUDGMENT
   Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                           Page 2 of 57 PageID 982



                                                  TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1

STATUTORY AND REGULATORY BACKGROUND .............................................................. 5

     I. HIPAA AND THE HIPAA RULES ................................................................................... 5

     II. THE BULLETIN ................................................................................................................ 9

PROCEDURAL HISTORY.......................................................................................................... 14

LEGAL STANDARD................................................................................................................... 14

ARGUMENT ................................................................................................................................ 15

     I. THE COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS. .................... 15

          A.      The Revised Bulletin Is Not Final Agency Action. ................................................. 15

          B.      Plaintiffs Cannot Avoid the Finality Requirement by Recasting a Garden-
                  Variety APA Claim as a Non-statutory Equitable Claim. ....................................... 21

     II. PLAINTIFFS’ CLAIMS FAIL ON THE MERITS. ......................................................... 27

          A.      The Revised Bulletin Is Consistent with HIPAA’s Definition of IIHI. ................... 27

          B.      The Revised Bulletin Is Not Arbitrary and Capricious............................................ 38

          C.      The Revised Bulletin Did Not Require Notice-and-Comment Procedures. ............ 41

     III. ANY RELIEF SHOULD BE APPROPRIATELY TAILORED. ..................................... 44

CONCLUSION ............................................................................................................................. 45




                                                                     i
   Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                           Page 3 of 57 PageID 983



                                               TABLE OF AUTHORITIES

CASES

Ala. Rural Fire Ins. Co. v. Naylor,
  530 F.2d 1221 (5th Cir. 1976) .................................................................................................. 22

Alaska Dep’t of Env’t Conservation v. EPA,
  540 U.S. 461 (2004) .................................................................................................................. 38

Am. Acad. of Implant Dentistry v. Parker,
  860 F.3d 300 (5th Cir. 2017) .................................................................................................... 37

Am. Airlines Inc. v. Hermann,
  176 F.3d 283 (5th Cir. 1999) .............................................................................................. 23, 24

Amin v. Mayorkas,
  24 F.4th 383 (5th Cir. 2022) ..................................................................................................... 14

Apter v. HHS,
  80 F.4th 579 (5th Cir. 2023) ................................................................................... 22, 23, 25, 26

Armstrong v. Exceptional Child Ctr., Inc.,
  575 U.S. 320 (2015). ................................................................................................................. 22

AT&T Co. v. EEOC,
  270 F.3d 973 (D.C. Cir. 2001) .................................................................................................. 18

Bd. of Governors. of Fed. Rsrv. Sys v. MCorp Fin., Inc.,
  502 U.S. 32 (1991) .................................................................................................................... 24

Bd. of Trs. of State Univ. of N.Y. v. Fox,
  492 U.S. 469 (1989) .................................................................................................................. 37

Beiser v. Weyler,
  284 F.3d 665 (5th Cir. 2002) .................................................................................................... 27

Bennett v. Spear,
  520 U.S. 154 (1997) .................................................................................................................. 15

Block v. N. Dakota ex rel. Bd. of Univ. & Sch. Lands,
  461 U.S. 273 (1983) .................................................................................................................. 25

Bluefield Water Ass’n, Inc. v. City of Starkville, Miss.,
  577 F.3d 250 (5th Cir. 2009) .................................................................................................... 44




                                                                     ii
   Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                           Page 4 of 57 PageID 984



Boelter v. Advance Mag. Publ’rs Inc.,
  210 F. Supp. 3d 579 (S.D.N.Y. 2016)....................................................................................... 36

Boelter v. Hearst Commc’ns Inc.,
  192 F. Supp. 3d 427 (S.D.N.Y. 2016)................................................................................. 36, 37

Braidwood Mgmt., Inc. v. EEOC,
  70 F.4th 914 (5th Cir. 2023) ..................................................................................................... 26

Brown Exp., Inc. v. United States,
  607 F.2d 695 (5th Cir. 1979) .................................................................................................... 42

Central Hudson Gas & Electric Corp. v. Public Service Commission of New York,
  447 U.S. 557 (1980) .................................................................................................................. 36

Chrysler Corp. v. Brown,
  441 U.S. 281 (1979) .................................................................................................................. 41

Consumer Elecs. Ass’n v. FCC,
  347 F.3d 291 (D.C. Cir. 2003) .................................................................................................. 40

Cousin v. Sharp Healthcare,
  No. 22-cv-2040, 2023 WL 8007350 (S.D. Cal. Nov. 17, 2023) ......................................... 29, 34

Danos v. Jones,
  652 F.3d 577 (5th Cir. 2011) ....................................................................................... 22, 23, 24

Data Mktg. P’ship v. U.S. Dep’t of Labor,
  45 F.4th 846 (5th Cir. 2022) ..................................................................................................... 45

Dobbs v. Jackson Women’s Health Organization,
  597 U.S. 215 (2022) .................................................................................................................. 19

eBay Inc. v. MercExchange, L.L.C.,
  547 U.S. 388 (2006) .................................................................................................................. 44

Exxon Chems. Am. v. Chao,
  298 F.3d 464 (5th Cir. 2002) .............................................................................................. 17, 24

FCC v. ITT World Commc’ns, Inc.,
  466 U.S. 463 (1984) .................................................................................................................. 25

FCC v. Prometheus Radio Project,
  592 U.S. 414 (2021) ............................................................................................................ 38, 39




                                                                    iii
   Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                           Page 5 of 57 PageID 985



Fed. Exp. Corp. v. U.S. Dep’t of, Comm.,
  39 F.4th 756 (D.C. Cir. 2022) ....................................................................................... 22, 23, 24

Flight Training Int’l, Inc. v. FAA,
  58 F.4th 234 (5th Cir. 2023) ............................................................................................... 41, 42

Geyen v. Marsh,
  775 F.2d 1303 (5th Cir. 1985) .................................................................................................. 22

Griffith v. Fed. Labor Rel. Auth.,
  842 F.2d 487 (D.C. Cir. 1988) .................................................................................................. 23

Harris Cnty. v. MERSCORP Inc.,
  791 F.3d 545 (5th Cir. 2015) .................................................................................................... 26

Hartley v. Univ. of Chi. Med. Ctr.,
  No. 22 C 5891, 2023 WL 7386060 (N.D. Ill. Nov. 8, 2023) .................................................... 34

In re Meta Pixel Healthcare Litig.,
   647 F. Supp. 3d 778 (N.D. Cal. 2022) ...................................................................................... 28

Jafarzadeh v. Duke,
  270 F. Supp. 3d 296 (D.D.C. 2017) .......................................................................................... 25

Kurowski v. Rush Sys. for Health,
  No. 22 C 5380, 2023 WL 4707184 (N.D. Ill. July 24, 2023) ................................................... 34

Leedom v. Kyne,
  358 U.S. 184 (1958) .................................................................................................................. 24

Lincoln v. Vigil,
  508 U.S. 182 (1993) .................................................................................................................. 41

Louisiana v. U.S. Army Corps of Eng’rs,
  834 F.3d 574 (5th Cir. 2016) .............................................................................................. 15, 16

Lujan v. Nat’l Wildlife Fed’n,
  497 U.S. 871 (1990) .................................................................................................................. 15

Luminant Generation Co. v. U.S. EPA,
  757 F.3d 439 (5th Cir. 2014) .................................................................................................... 18

Medina Cnty. Env’t Action Ass’n v. Surface Transp. Bd.,
 602 F.3d 687 (5th Cir. 2010) .................................................................................................... 38




                                                                    iv
   Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                           Page 6 of 57 PageID 986



Mendoza v. Perez,
 754 F.3d 1002 (D.C. Cir. 2014) ................................................................................................ 42

Michigan v. EPA,
  576 U.S. 743 (2015) .................................................................................................................. 39

Mock v. Garland,
 75 F.4th 563 (5th Cir. 2023) ..................................................................................................... 43

Monsanto Co. v. Geertson Seed Farms,
 561 U.S. 139 (2010) .................................................................................................................. 44

Motor Vehicle Mfrs. Ass’n of the U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983) .................................................................................................................... 38

Nat’l Ass’n of Mfrs. v. SEC,
  748 F.3d 359 (D.C. Cir. 2014) .................................................................................................. 40

Nat’l Fed’n of Indep. Bus. v. Dougherty,
  No. 3:16-CV-2568, 2017 WL 1194666 (N.D. Tex. Feb. 3, 2017) ........................................... 20

Nat’l Pork Producers Council v. U.S. EPA,
  635 F.3d 738 (5th Cir. 2011) .................................................................................................... 15

Neb. State Legis. Bd. United Transp. Union v. Slater,
  245 F.3d 656 (8th Cir. 2001) .................................................................................................... 24

Nyunt v. Chairman, Broadcasting Bd. of Governors,
  589 F.3d 445 (D.C. Cir. 2009) ............................................................................................ 22, 24

Oestereich v. Selective Serv. Sys. Loc. Bd. No. 11,
  393 U.S. 233 (1968) .................................................................................................................. 23

Pennhurst State Sch. & Hosp. v. Halderman,
  465 U.S. 89 (1984) .................................................................................................................... 23

Peoples Nat’l Bank v. Off. of Comptroller of Currency of the U.S.,
  362 F.3d 333 (5th Cir. 2004) .................................................................................................... 16

Perez v. Mortg. Bankers Ass’n,
  575 U.S. 92 (2015) .............................................................................................................. 41, 42

POET Biorefining, LLC v. EPA,
  970 F.3d 392 (D.C. Cir. 2020) .................................................................................................. 42




                                                                     v
   Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                           Page 7 of 57 PageID 987



Prof'ls & Patients for Customized Care v. Shalala,
  56 F.3d 592 (5th Cir. 1995) ...................................................................................................... 19

Puerto Rico v. United States,
  490 F.3d 50 (1st Cir. 2007) ....................................................................................................... 24

Qureshi v. Holder,
  663 F.3d 778 (5th Cir. 2011) .................................................................................................... 15

Rhea Lana, Inc. v. Dep’t of Labor,
  824 F.3d 1023 (D.C. Cir. 2016) ................................................................................................ 15

Ryder Truck lines, Inc. v. United States,
  716 F.2d 1369 (11th Cir. 1983) ................................................................................................ 19

S.C. Med. Ass’n v. Thompson,
  327 F.3d 346 (4th Cir. 2003) ...................................................................................................... 5

Shalala v. Guernsey Mem’l Hosp.,
  514 U.S. 87 (1995) .................................................................................................................... 42

Sierra Club v. U.S. Dep’t of Interior,
  990 F.3d 909 (5th Cir. 2021) .................................................................................................... 38

Skelly Oil Co. v. Phillips Petroleum Co.,
  339 U.S. 667 (1950) .................................................................................................................. 26

Smith v. Facebook, Inc.,
  745 F. App’x 8 (9th Cir. 2018) ................................................................................................. 34

Sorrell v. IMS Health Inc.,
  564 U.S. 552 (2011) ............................................................................................................ 35, 38

Spring Branch Wildlife Preserve v. U.S. EPA,
  No. 3:20-cv-225, 2021 WL 6503917 (S.D. Tex. Sept. 17, 2021) ............................................. 17

Texas v. Becerra,
  89 F.4th 529 (5th Cir. 2024) ............................................................................................... 19, 20

Texas v. Brooks-LaSure,
  No. 6:23-cv-161, 2023 WL 4304749 (E.D. Tex. June 30, 2023) ............................................. 20

Texas v. EEOC,
  933 F.3d 433 (5th Cir. 2019) .................................................................................................... 20




                                                                    vi
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                              Page 8 of 57 PageID 988



Texas v. HHS,
  No. 23-cv-22, --- F. Supp. 3d ----, 2023 WL 4629168 (W.D. Tex. July 12, 2023) .................. 20

Texas v. United States,
  809 F.3d 134 (5th Cir. 2015) .................................................................................................... 41

Trans Union Corp. v. FTC,
  245 F.3d 809 (D.C. Cir. 2001) .................................................................................................. 37

U.S. West, Inc. v. FCC,
  182 F.3d 1224 (10th Cir. 1999) ................................................................................................ 36

United States v. Oakland Cannabis Buyers’ Co-op.,
  532 U.S. 483 (2001) .................................................................................................................. 35

United States v. Texas,
  143 S. Ct. 1964 (2023) .............................................................................................................. 45

Webster v. Fall,
 266 U.S. 507 (1925) .................................................................................................................. 26

Younger v. Harris,
  401 U.S. 37 (1971) .................................................................................................................... 25

STATUTES

5 U.S.C. § 553(b)(A)..................................................................................................................... 41

5 U.S.C. § 704 ............................................................................................................................... 15

5 U.S.C. § 706(2)(C) ............................................................................................................... 22, 24

42 U.S.C. § 1320d-1(a) ................................................................................................................... 6

42 U.S.C. § 1320d-2 ....................................................................................................................... 5

42 U.S.C. § 1320d-5 ................................................................................................................... 8, 9

42 U.S.C. § 1320d(6) ........................................................................................................ 1, 4, 7, 27

Pub. L. No. 104-191, § 264............................................................................................................. 5

FEDERAL RULE

Fed. R. Civ. P. 56(a) ..................................................................................................................... 14




                                                                      vii
   Case 4:23-cv-01110-P Document 51 Filed 03/21/24                                             Page 9 of 57 PageID 989



ADMINISTRATIVE AND EXECUTIVE MATERIALS

45 C.F.R. part 160 ......................................................................................................................... 44

45 C.F.R. § 160.101 ........................................................................................................................ 6

45 C.F.R. § 160.103 ............................................................................................................... passim

45 C.F.R. § 160.548(a).................................................................................................................... 9

45 C.F.R. § 164.102 .................................................................................................................... 6, 8

45 C.F.R. § 164.502 ............................................................................................................... passim

45 C.F.R. § 164.508 ...................................................................................................................... 13

45 C.F.R. § 164.514 ...................................................................................................... 7, 17, 29, 35

45 C.F.R. §§ 160.306, 160.308, 160.312, 160.314, 160.402 .......................................................... 9

45 C.F.R. §§ 160.420(b), 160.504, ................................................................................................. 9

45 C.F.R. §§ 164.400–414 .............................................................................................................. 8

Standards for Privacy of Individually Identifiable Health Information,
  65 Fed. Reg. 82,462 (Dec. 28, 2000)
  (codified at 45 C.F.R. § 160.101, et seq. and 45 C.F.R. § 164.102, et seq.)...................... passim

Factoring Criteria for Firearms with Attached “Stabilizing Braces,”
  88 Fed. Reg. 6478, 6481 (Jan. 31, 2023) .................................................................................. 44

OTHER AUTHORITIES

Black’s Law Dictionary (11th ed. 2019)
  (defining “related”) ................................................................................................................... 27




                                                                     viii
  Case 4:23-cv-01110-P Document 51 Filed 03/21/24                             Page 10 of 57 PageID 990



Merriam-Webster’s Dictionary
 (defining “relate”), https://www.merriam-webster.com/dictionary/relate%20to. .................... 27

33 Charles A. Wright & Arthur R. Miller,
  Fed. Prac. & Proc. § 8307 (3d ed. Apr. 2020 update)............................................................... 25




                                                          ix
  Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 11 of 57 PageID 991



                                        INTRODUCTION

       The Health Insurance Portability and Accountability Act of 1996 (HIPAA) and its

accompanying regulations (the HIPAA Privacy, Security, and Breach Notification Rules or

HIPAA Rules) ensure that Americans can seek health care without fearing that their sensitive

health information will be made public. Recognizing the harms that result from the disclosure of

health information and the deleterious effect that inadequate privacy protections can have on the

health care system, HIPAA’s regulations have long prohibited covered entities, including certain

health care providers, from disclosing individually identifiable health information (IIHI) to third

parties except as expressly permitted by the regulations or authorized by the individual. In

delineating the types of information that must be protected, Congress chose to sweep broadly,

instructing that entities covered by HIPAA must protect “any information” that (1) “relates to” the

past, present, or future health condition, health care, or payment of health care of any individual,

(2) as to which there is a reasonable basis to believe that the information can be used to identify

the individual. 42 U.S.C. § 1320d(6).

       Notwithstanding these serious privacy concerns, many HIPAA covered entities disclose

copious amounts of information to third parties through online tracking technologies. A tracking

technology is a computer code or script embedded in a webpage that harvests data about users who

navigate to and interact with the webpage. Such technologies capture information like the title

and contents of the webpage visited, users’ interactions on a website—including what information

they enter or click on while there and what links or search terms brought them there—along with

information about the user, like email or IP addresses. They then share that information with

outside companies for uses ranging from website analytics and usability testing to creating user

profiles and targeted advertising. When used on the websites of HIPAA covered entities, these




                                                 1
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24                Page 12 of 57 PageID 992



technologies (depending on the particular webpage and technology used) can gather and disclose

information that can be used to identify an individual and show, for example, that individual

attempted to schedule an appointment with a particular provider, identified symptoms from which

they are currently suffering, or searched for information about their specific medical conditions or

potential treatment options.

          Some HIPAA covered entities have recognized the privacy risks inherent in the use of

tracking technologies—indeed, before the release of the guidance at issue here, some covered

entities reported such disclosures as breaches of unsecured protected health information under the

HIPAA Breach Notification Rule to the Office for Civil Rights (OCR) at the U.S. Department of

Health and Human Services (HHS). OCR also came to understand, however, that many entities

may have failed to consider applying HIPAA’s privacy standards to protected health information

(PHI) disclosed to third parties through tracking technologies. In light of the risk that sensitive

health information could be disclosed to third parties through these technologies, in

December 2022 OCR issued a guidance document—the Bulletin challenged in Plaintiffs’

complaint—reminding HIPAA covered entities and business associates that the HIPAA Privacy

Rule’s longstanding restrictions on disclosing PHI applies to information gathered and disclosed

through online tracking technologies. See U.S. Dep’t of Health & Human Servs., Use of Online

Tracking Technologies by HIPAA Covered Entities and Business Associates, AR18-31. 1 The

original Bulletin reminded regulated entities that they must comply with HIPAA’s regulatory

requirements when using those technologies. And it reminded entities that the HIPAA Rules

permit the use of online tracking technologies when implemented properly by, for example,

entering into contracts with vendors who agree to safeguard the privacy and security of IIHI or by


1
    Citations to “AR” refer to pages in the certified administrative record. See ECF No. 49.


                                                  2
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24               Page 13 of 57 PageID 993



obtaining HIPAA authorizations from individuals. In March 2024, OCR replaced the original

Bulletin with a revised version—the Revised Bulletin—designed to provide additional clarity to

regulated entities and the public about what types of disclosures to tracking technologies might

reveal IIHI, to offer additional advice about ways regulated entities can use tracking technologies

and also comply with the Privacy Rule, and to share OCR’s enforcement priorities in investigations

concerning disclosures to tracking technologies.       AR1–17.     Although the Revised Bulletin

superseded the original Bulletin, Defendants’ understanding is that Plaintiffs do not believe the

Revised Bulletin resolves their claims. 2

        Plaintiffs challenge a narrow portion of the Revised Bulletin—specifically, its application

to the use of tracking technologies on certain “unauthenticated” webpages (i.e., pages that neither

require nor request a user to input a username, password, or other log-in credential before accessing

the page). They contend that information gathered from unauthenticated websites can never satisfy

HIPAA’s definition of IIHI. Plaintiffs also argue that the Revised Bulletin is arbitrary and

capricious and was improperly issued without notice and comment. Each of these claims fails.

        As a threshold matter, the Court lacks jurisdiction over Plaintiffs’ claims. Judicial review

under the Administrative Procedure Act (APA) is reserved for final agency action, which the

Revised Bulletin is not. The Revised Bulletin neither reflects the agency’s position on any

particular case nor imposes any new legal obligations over and above what are already required

by HIPAA’s regulations—indeed, it expressly states that it is “not meant to bind the public in any

way” but intended “only to provide clarity to the public regarding existing requirements.” AR11.




2
 Plaintiffs’ opening brief, filed before the Revised Bulletin was issued, discusses only the original
Bulletin. Because the original Bulletin has been superseded, it can no longer be set aside or
enjoined, as Plaintiffs originally requested. See Compl. at 21. Accordingly, this brief generally
addresses the Revised Bulletin.


                                                 3
  Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 14 of 57 PageID 994



Indeed, the Revised Bulletin is simply a reminder of the applicability of the HIPAA Rules to

disclosures of protected health information online, issued in response to information OCR received

suggesting that some regulated entities were not following the Rules.

       Even if the Court had jurisdiction, Plaintiffs’ claims fail on the merits. Plaintiffs argue that

the Revised Bulletin conflicts with HIPAA because information collected by online tracking

technologies on unauthenticated webpages cannot constitute IIHI. But there is no such conflict.

As the Revised Bulletin makes plain, whether web trackers used on unauthenticated webpages

might result in disclosures of PHI is a fact-specific question that turns upon whether the

information collected relates to an identifiable individual’s past, present, or future health, health

care, or payment for health care. AR5–7. This guidance is entirely consistent with HIPAA and

the HIPAA Rules. As the Revised Bulletin explains, a tracking technology that collects identifying

information—such as an IP address—from an individual who, say, uses a hospital’s website to

book an appointment with a psychiatrist or enters information about their own psychiatric

condition into an online symptom checker may have collected information that both “relates to”

the individual’s health care and that “reasonabl[y]” can be used to identify the individual.

42 U.S.C. § 1320d(6); see also AR5–7. Conversely, a tracking technology that collects identifying

information from an individual visiting a website showing a hospital’s job postings or looking into

services the hospital provides for the purpose of researching a school paper likely would not have

collected IIHI because the website visits appear to be unrelated to the individual’s health or health

care. AR5–7. Thus, the Revised Bulletin makes clear that its guidance as to when IIHI is likely

disclosed to tracking technologies aligns with the statutory and regulatory text.

       In addition, Plaintiffs cannot show that the agency acted unreasonably in issuing the

Revised Bulletin. The Revised Bulletin sufficiently explains OCR’s understanding of how




                                                  4
     Case 4:23-cv-01110-P Document 51 Filed 03/21/24              Page 15 of 57 PageID 995



HIPAA’s regulations apply to IIHI, and that understanding is consistent with HIPAA’s statutory

language and the balance struck in its regulations between the benefits of electronic health

information and the harms to individuals and society resulting from inadequate privacy

protections. Finally, the APA exempts non-binding guidance documents like the Revised Bulletin

from notice-and-comment rulemaking procedures.

         For these reasons, as explained further below, the Court should deny Plaintiffs’ motion for

summary judgment and grant Defendants’ cross-motion for summary judgment.

                    STATUTORY AND REGULATORY BACKGROUND

I.       HIPAA AND THE HIPAA RULES

         Congress enacted HIPAA in 1996 in response to the growing use of electronic information

systems in health care. HIPAA directed the Secretary of HHS to adopt uniform national standards

“to enable health information to be exchanged electronically” in order “to improve the . . .

efficiency and effectiveness of the health care system.” Pub. L. No. 104-191, §§ 261-62, 110 Stat.

936 (1996); 42 U.S.C. § 1320d-2. However, in light of the “paramount” need to protect the privacy

of Americans’ sensitive health information, H.R. Rep. No. 104-496, at 100 (1996), Congress also

tasked the Secretary with promulgating standards to ensure the privacy of IIHI. See

Pub. L. No. 104-191, § 264.

         As directed by HIPAA, the Secretary submitted to Congress “detailed recommendations”

on privacy standards for IIHI, id. § 264(a), and with Congress’s acquiescence, “promulgate[d]

final regulations containing such standards,” id. § 264(c)(1), in the 2000 “Privacy Rule.” See

generally S.C. Med. Ass’n v. Thompson, 327 F.3d 346, 348 (4th Cir. 2003); Standards for Privacy

of Individually Identifiable Health Information, 65 Fed. Reg. 82,462 (Dec. 28, 2000) (codified at

45 C.F.R. § 160.101, et seq. and 45 C.F.R. § 164.102, et seq.). The Privacy Rule was intended to




                                                  5
  Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 16 of 57 PageID 996



respond to the public’s significant concerns about the lack of privacy of individuals’ health

information and the harms that result from a loss of privacy. 65 Fed. Reg. at 82,464–65. As HHS

explained, “[t]he provision of high-quality health care requires the exchange of personal, often-

sensitive information,” and individuals’ trust that their information will be kept confidential is

essential to the efficient and effective operation of the nation’s health care system. Id. at 82,463.

Moreover, the harms suffered by individuals when their sensitive health information is revealed—

including unwanted intrusion, identity theft, and embarrassment—are severe, and the public’s fear

of those harms impedes the provision of health care. Id. at 82,464–65. At the same time, while

the electronic transmission of health information “affords many benefits to individuals and to the

health care industry,” id. at 82,465, the market incentives for health care plans and providers

“discourage privacy protection,” id. at 82,761. Health care plans and providers “gain[] the full

benefit of using such information” but the individual “suffer[s] the losses from disclosure,”

encouraging the “over-use” of IIHI. Id. at 82,761–62. The Privacy Rule thus “seeks to balance

the needs of the individual with the needs of the society,” id. at 82,464, by requiring entities

covered by HIPAA to protect sensitive health information while allowing certain limited

disclosures “to improve the efficiency and effectiveness of health care delivery,” id. at 82,463.

       To that end, the Privacy Rule restricts the use and disclosure of PHI by “covered entities”

and their “business associates.” 45 C.F.R. § 164.502. Generally speaking, a covered entity is a

health care plan, health care provider, or health care clearinghouse that transmits “any health

information in electronic form in connection with a transaction covered by” HIPAA. Id. § 160.103;

see also 42 U.S.C. § 1320d-1(a). PHI is defined as IIHI transmitted or maintained in electronic

media or in any other form or medium (with exceptions not relevant here), 45 C.F.R. § 160.103,

and IIHI is defined by both HIPAA and the Privacy Rule as any information that (1) “is created or




                                                 6
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 17 of 57 PageID 997



received by” a covered entity; (2) “relates to” either “the past, present, or future physical or mental

health or condition of an individual”; the “provision of health care to an individual”; or the “past,

present, or future payment for the provision of health care to an individual”; and (3) either

“identifies the individual” or “with respect to which there is a reasonable basis to believe that the

information can be used to identify the individual,” 42 U.S.C. § 1320d(6); 45 C.F.R. § 160.103

(same). 3

        The Privacy Rule further enumerates specific categories of information that constitute

individual “identifiers.” 45 C.F.R. § 164.514(b)(2)(i) (specifying “identifiers” that must be

removed from PHI for it to be considered de-identified). These identifiers have always included

not just information like names, social security numbers, and account numbers, but also geographic

locations, email addresses, IP addresses, and “[a]ny other unique identifying number,

characteristic, or code.” Id. § 164.514(b)(2)(R).

        A covered entity is not permitted to “use or disclose” PHI except as specifically authorized

by the Privacy Rule. Id. § 164.502(a). The Privacy Rule identifies several permissible and

mandatory uses and disclosures, including, inter alia, disclosures for the provision of or payment

for health care; for “health care operations”; in connection with judicial or administrative

proceedings; and for research purposes. See id. §§ 164.502(a)(1)–(2), 164.512. Covered entities

are also permitted to disclose PHI to a “business associate,” id. § 164.502(a)(3), which is generally

an entity that operates on behalf of a covered entity for certain functions involving the creation,

transmission, receipt, or maintenance of PHI, including administration, data analysis, and practice

management, or provides certain services to a covered entity, such as consulting or administrative



3
 The term “PHI” under the HIPAA Rules largely incorporates the definition of IIHI under HIPAA.
See 45 C.F.R. § 160.103.


                                                  7
  Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 18 of 57 PageID 998



services, that involve the disclosure of PHI, id. § 160.103. A business associate relationship must

be subject to a contract or other written arrangement (known as a “business associate agreement”)

that outlines the authorized uses and disclosures of PHI and requires the business associate to use

appropriate safeguards to protect the privacy of individuals’ PHI.            Id. §§ 164.502(e)(1),

164.504(e)(1). Except for certain prohibited uses, covered entities may also disclose PHI pursuant

to a valid authorization from the individual. Id. § 164.502(a)(1)(iv). In general, when using or

disclosing PHI for permitted purposes, covered entities “must make reasonable efforts to limit

[PHI] to the minimum necessary to accomplish the intended purpose.” Id. § 164.502(b)(1).

       Covered entities and business associates (collectively, “regulated entities”) are also subject

to the HIPAA Security and Breach Notification Rules. The Security Rule requires regulated

entities to maintain reasonable and appropriate administrative, physical, and technical safeguards

to ensure the confidentiality, integrity, and availability of electronic PHI; to protect against any

reasonably anticipated threats or hazards to the security of electronic PHI; and to protect against

reasonably anticipated impermissible uses or disclosures. 45 C.F.R. §§ 164.102–106, 164.302–

318. The Breach Notification Rule requires regulated entities to provide notification of a breach

of unsecured PHI to the Secretary of HHS; to affected individuals to alert them that their PHI has

been compromised and to encourage them to take the necessary steps to prevent any resulting

harm; and, in situations in which a breach affects more than 500 residents of a state or jurisdiction,

to a prominent media outlet serving that state or jurisdiction. 45 C.F.R. §§ 164.400–414.

       Violations of the HIPAA Privacy, Security, and Breach Notification Rules are civilly

enforced by OCR. OCR is authorized to investigate regulated entities, and if it finds a violation,

may informally resolve the matter with the entity through compliance or corrective measures or

seek to impose monetary penalties. See 42 U.S.C. § 1320d-5; 45 C.F.R. §§ 160.306, 160.308,




                                                  8
  Case 4:23-cv-01110-P Document 51 Filed 03/21/24                Page 19 of 57 PageID 999



160.312, 160.314, 160.402. If OCR seeks to impose a monetary penalty on an entity, the entity

may request an administrative hearing before an administrative law judge, 45 C.F.R.

§§ 160.420(b), 160.504, and appeal any adverse decision to a board of administrative law judges,

45 C.F.R. § 160.548(a). The board’s decision is subject to judicial review in a federal court of

appeals. 42 U.S.C. § 1320d-5 (incorporating provisions of 42 U.S.C. § 1320a-7a); id. § 1320a-

7a(e).

II.      THE BULLETIN

         On December 1, 2022, OCR issued the original Bulletin to “highlight” and remind

regulated entities how their obligations under the HIPAA Rules continue to apply to PHI when

they use online tracking technologies. AR18-31. Online tracking technologies are computer

scripts or codes embedded in a website or mobile application that gather and share information

collected from users as they interact with particular webpages, sometimes even after they navigate

away from the original website. AR19–20. The data collected by tracking technologies differ

depending on the particular tracking technology employed, but tracking technologies generally

collect information about the webpage visited—such as its URL, its title, its full contents, the

search terms used by the user to reach the page, and what buttons the user clicked on the page or

the path that led them to the page—and can link that with identifying information about users, such

as email addresses, IP addresses, geographical locations, and medical record numbers. AR231–

37. User data can be logged across multiple visits, and certain tracking technologies are also

capable of linking data collected from users with their other accounts, such as Google or Facebook

accounts. AR228–29; AR231–32.

         Tracking technologies are a pervasive feature of the Internet and are used by website

operators and third-party technology vendors, like Meta and Google, to glean information about




                                                9
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 20 of 57 PageID 1000



users and their online activities for various reasons, including website analytics and targeted

advertising. AR227–28. Regulated entities frequently engage third-party vendors to deploy

tracking technologies on their websites. AR227, AR234–37. In such circumstances, the tracking

technology functions by sending information collected on the regulated entity’s website directly

to the third-party vendor. AR3, AR228. The information is generally not de-identified prior to its

transmission. AR228–37. Though some tracking technology vendors may represent that they do

not further disclose identifying information collected from regulated entities’ websites, see Br. of

Amici Curiae Thirty Hosps. and Hosp. Sys. In Supp. of Pls.’ Mot. for Summ. J. at 15, ECF No. 35,

a regulated entity may not make an initial disclosure of PHI to a tracking technology vendor unless

the Privacy Rule expressly permits the disclosure and any applicable conditions have been met

(e.g., a business associate agreement is in place if the vendor meets the definition of business

associate).

       In recent years, there has been significant public concern about the privacy practices of

regulated entities, including the use of tracking technologies on their websites, which has been

reflected in a spate of media reporting on regulated entities’ data practices, lawsuits brought by

private litigants arising from disclosures made through tracking technologies, academic papers,

and regulatory efforts. See, e.g. AR227–41; AR260–62; AR301–04; AR347–49; AR426–46. This

growing attention revealed significant differences in how regulated entities implemented the

requirements of the HIPAA Rules in the context of online tracking technologies. Compare, e.g.,

AR347–49 (covered entity denied that any PHI was disclosed through tracking), with AR248–59

(discussing covered entity’s self-reporting of inadvertent disclosure of PHI through the use of a

tracking technology, including contact information, IP addresses, and “information such as




                                                10
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24             Page 21 of 57 PageID 1001



appointment type and date, physician selected, button/menu selections, and/or content typed into

free text boxes”).

        Accordingly, OCR issued the original Bulletin to remind regulated entities of their

obligations under the HIPAA Rules when they use online tracking technologies. On March 18,

2024, OCR replaced the original Bulletin with the Revised Bulletin to provide additional clarity

about when visits to unauthenticated web pages may or may not disclose PHI to tracking

technologies, additional tips for complying with the HIPAA Rules when utilizing tracking

technologies, and additional information about OCR’s enforcement priorities in the context of

tracking technologies. AR1–17. Like the original Bulletin, the Revised Bulletin addresses the

application of the HIPAA Rules in the specific contexts of “user-authenticated” and

“unauthenticated” webpages. AR4–7. 4 Tracking technologies on user-authenticated webpages—

webpages that require users to log in before accessing the page, such as patient portals—will

“generally have access to PHI.” AR4–5. For example, technologies used on those webpages can

collect and disclose “diagnosis and treatment information, prescription information, billing

information,” patient status, and other information disclosed by the user, which can then be linked

to an individual’s “IP address, medical record number, home or email addresses, dates of

appointments, or other identifying information that the individual may provide when interacting

with the webpage.” AR4.

        By contrast, tracking technologies on “many unauthenticated webpages”—webpages that

do not require users to log in—“do not have access to individuals’ PHI.” AR5. However, in some

cases, tracking technologies on such pages “may have access to PHI.” Id. The Revised Bulletin



4
 The Revised Bulletin also addresses the use of tracking technologies on mobile apps, see AR7–
8, which Plaintiffs have not challenged here. See Pls.’ Br. in Supp. of Mot. for Summ. J. (“Pls.’
Br.”) at 6 n.2, ECF No. 25.


                                                11
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                   Page 22 of 57 PageID 1002



advises that “regulated entities that are considering the use of online tracking technologies should

consider whether any PHI will be transmitted . . . and take appropriate steps consistent with the

HIPAA Rules.” Id. To assist regulated entities in complying with their obligations, the Revised

Bulletin provides several examples of “when visits to an unauthenticated webpage may or may not

involve the disclosure of PHI.” AR5–7. For example, visits to unauthenticated webpages that do

not contain information that relates to an individual’s health, health care, or payment for health

care—like webpages that provide information about a “hospital’s job postings or visiting hours”—

would not involve the disclosure of PHI, even if information disclosed to tracking technologies

could be used to identify an individual who visited that webpage. AR6. Visits to unauthenticated

webpages that do not relate to an individual’s past, present, or future health, health care, or payment

for health care, also do not result in disclosure of PHI to a tracking technology. Id. Thus, if a

student visited a hospital’s webpage listing the oncology services the hospital provided for the

purpose of researching a term paper, that would not constitute a disclosure of PHI even if the

information could be used to identify the student. Id. Conversely, if an individual visited the same

webpage listing oncology services for the purpose of seeking “a second opinion on treatment

options for their brain tumor,” transmission of that individual’s identifying information could

constitute a disclosure of PHI where the information was “both identifiable and related to the

individual’s health or future health care.” Id. Along these same lines, tracking technologies on

webpages that allow individuals to schedule appointments with providers or use a symptom-

checker tool may have access to PHI where the individual’s identifying information—such as their

email address or IP address—is transmitted in connection with this information related to their

health or future health care. AR7. In addition, webpages that request, but do not require, login




                                                  12
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 23 of 57 PageID 1003



information are not themselves user-authenticated, but a tracking technology that collects the

user’s login credentials may have access to PHI. Id.

       Having alerted regulated entities to situations in which they need to consider the risks of

PHI being disclosed, the Revised Bulletin then reminds regulated entities of their obligation to

“comply with the HIPAA Rules when using tracking technologies.” AR8. It counsels regulated

entities that the Privacy Rule requires either “[e]nsuring that all disclosures of PHI to tracking

technology vendors are specifically permitted” or obtaining authorization for disclosures of PHI.

AR9–10. It also reminds regulated entities that the Privacy Rule contains several methods of

compliance allowing regulated entities to disclose PHI to third parties through tracking

technologies. Id. The Privacy Rule permits, for example, disclosures of PHI to business associates

for specific purposes when a business associate agreement is in place, meaning that a regulated

entity can disclose PHI to a business associate third-party tracking technology vendor so long as

assurances to safeguard PHI are established. Id. The Revised Bulletin also informs regulated

entities that, if a preferred tracking technology vendor will not enter into a business associate

agreement, the regulated entity may comply with HIPAA by entering into such an agreement with

a vendor that will de-identify information before providing information to that tracking technology

vendor. Id. In addition, in the absence of a business associate relationship, the Privacy Rule still

permits regulated entities to disclose PHI to vendors with individuals’ authorizations in accordance

with 45 C.F.R. § 164.508. Id.

       The Revised Bulletin also informs regulated entities about OCR’s enforcement priorities.

It shares that OCR is “prioritizing compliance with the HIPAA Security Rule,” which “helps lower

the risk of unauthorized access” to PHI “that could lead to harm to individuals.” AR11. The

Revised Bulletin points out that OCR investigations are “fact-specific” and that the agency




                                                13
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 24 of 57 PageID 1004



“considers all of the available evidence in determining compliance and potential remedies for

noncompliance.” Id. Finally, the Revised Bulletin states specifically that it “do[es] not have the

force and effect of law” and is “not meant to bind the public in any way.” Id.

                                   PROCEDURAL HISTORY

       On November 2, 2023, Plaintiffs—two trade associations representing hospitals, health

care systems, networks, and other health care providers, along with two health systems—filed this

action challenging only the portion of the Revised Bulletin that relates to the use of online tracking

technologies on unauthenticated pages that do not request login credentials. See Compl. ¶¶ 27–

30, 40, ECF No. 1.       Pursuant to the parties’ joint motion, the Court waived Defendants’

requirement to respond to the Complaint. See Order, ECF No. 22.

       On January 5, 2024, Plaintiffs moved for summary judgment on three grounds. They first

argue that the challenged provisions of the Revised Bulletin exceed HHS’s statutory authority

because they are allegedly inconsistent with HIPAA’s definition of IIHI. See Pls.’ Br. at 16–23.

Second, Plaintiffs argue that the Revised Bulletin is arbitrary and capricious. Id. at 27–30. Third,

Plaintiffs argue that the Revised Bulletin is a substantive rule that was issued without notice-and-

comment procedures. Id. at 30–34.

                                      LEGAL STANDARD

       The Court’s review of Plaintiffs’ challenge to the Revised Bulletin is restricted to the

administrative record before the agency. See Order, ECF No. 22. When the record establishes

“that there is no genuine dispute as to any material fact and the movant is entitled to judgment as

a matter of law,” summary judgment is appropriate. Fed. R. Civ. P. 56(a); see also Amin v.

Mayorkas, 24 F.4th 383, 391 (5th Cir. 2022) (noting that APA claims are generally resolved at

summary judgment).




                                                 14
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                    Page 25 of 57 PageID 1005



                                            ARGUMENT

I.      THE COURT LACKS JURISDICTION OVER PLAINTIFFS’ CLAIMS.

        Plaintiffs’ claims fail at the threshold for want of subject matter jurisdiction. Under the

APA, the Court lacks jurisdiction to review the Revised Bulletin because it does not constitute

final agency action.

        A.      The Revised Bulletin Is Not Final Agency Action.

        The APA grants federal courts jurisdiction only over “final agency action.” Lujan v. Nat’l

Wildlife Fed’n, 497 U.S. 871, 882 (1990); Qureshi v. Holder, 663 F.3d 778, 781 (5th Cir. 2011)

(“If there is no final agency action, a federal court lacks . . . jurisdiction.” (citation omitted)); see

also 5 U.S.C. § 704. Agency action is final if it (1) represents “the ‘consummation’ of the agency’s

decisionmaking process,” and (2) conclusively determines legal “rights or obligations.” Bennett

v. Spear, 520 U.S. 154, 178 (1997) (citations omitted). The Revised Bulletin satisfies neither

requirement. It does not establish the agency’s final position with respect to any concrete

circumstances. It also lacks any independent force of law, as it explicitly states that it is non-

binding and any legal consequences would only result after an administrative proceeding subject

to judicial review. Accordingly, the Revised Bulletin does no more than “merely restate” a

regulatory requirement or “merely reiterate what has already been established.” Nat’l Pork

Producers Council v. U.S. EPA, 635 F.3d 738, 756 (5th Cir. 2011); see also Rhea Lana, Inc. v.

Dep’t of Labor, 824 F.3d 1023, 1028 (D.C. Cir. 2016) (agency action was not final because it

“created no new legal obligations beyond those [the statute] already imposed”).

        “Agency action may mark the consummation of the agency’s decisionmaking process if

the agency action ‘is not subject to further agency review,’. . . which occurs when the agency has

‘asserted its final position on the factual circumstances underpinning’ the agency action.”




                                                   15
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 26 of 57 PageID 1006



Louisiana v. U.S. Army Corps of Eng’rs, 834 F.3d 574, 581 (5th Cir. 2016) (citations omitted).

The Revised Bulletin states that while tracking technologies on “many” unauthenticated webpages

“do not have access to individuals’ PHI,” tracking technologies on unauthenticated webpages that

address health conditions or allow individuals to search for doctors or appointments “may have

access to PHI in certain circumstances.” AR5–7. It does not, however, assert a “final position”

on any “factual circumstances.” Louisiana, 834 F.3d at 581. Rather, the agency’s final position

regarding the fact-specific question of whether any regulated entity’s particular conduct violated

the HIPAA Rules would come only after an investigation by OCR and a separate administrative

enforcement proceeding. See supra pp. 8–9; see also Peoples Nat’l Bank v. Off. of Comptroller of

Currency of the U.S., 362 F.3d 333, 337 (5th Cir. 2004) (“[A] non-final agency order is one that

‘does not of itself adversely affect [plaintiffs] but only affects [their] rights adversely on the

contingency of future administrative action.’” (citation omitted)).

       Plaintiffs make much of the original Bulletin’s inclusion of a single illustrative example of

conduct—the collection of an email address or IP address of an individual who visits a webpage

for the purpose of “search[ing] for available appointments with a health care provider”—to outline

one hypothetical situation in which a tracking technology vendor would likely have access to PHI

in the context of an unauthenticated webpage. But in the Revised Bulletin, OCR has now provided

additional examples clarifying when a regulated entity might disclose PHI to a tracking

technology. AR6–7. And in any event, the example Plaintiffs latch onto is divorced from the

factual context of any particular case, including the contents of the hypothetical webpage involved

or the information that is actually collected by the hypothetical tracking technology. See AR3

(explaining that types of online tracking technologies vary); see also AR231–33 (discussing

various tracking technologies and the different types of information collected by each). It is not




                                                16
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 27 of 57 PageID 1007



sufficiently concrete to constitute the consummation of the agency’s decisionmaking. Exxon

Chems. Am. v. Chao, 298 F.3d 464, 467 (5th Cir. 2002) (agency action was not final where agency

“has not issued a decision definitively resolving the merits of [the] case”); see also Spring Branch

Wildlife Preserve v. U.S. EPA, No. 3:20-cv-225, 2021 WL 6503917, at *3 (S.D. Tex. Sept. 17,

2021) (agency letter was not final agency action where it “outline[d] a range of possible

enforcement options, but stops short of committing itself to any particular action,” and agency was

free to mandate restoration of wetlands, seek civil penalties, do both, or “take no action at all”),

aff’d, No. 22-40031, 2022 WL 9914735 (5th Cir. Oct. 17, 2022) (per curiam).

       The Revised Bulletin is also not final because it does not create any new legal rights or

obligations. Instead, it merely reiterates the Privacy Rule’s longstanding restrictions on the use

and disclosure of PHI to third parties, and highlights certain other preexisting obligations under

the Security and Breach Notification Rules. As the Revised Bulletin explains, “it has always been

true that regulated entities may not impermissibly disclose PHI to tracking technology vendors.”

AR2; see also 45 C.F.R. § 164.502(a) (restricting covered entities from disclosing PHI to third

parties except as specifically authorized). HHS has always interpreted the Privacy Rule as

providing that there is a reasonable basis to believe that certain categories of information—

including email addresses and IP addresses—can be used to identify individuals, see 45 C.F.R.

§ 164.514(b), and such identifying information is PHI when tied to information that reflects an

individual’s health or health care, see id. § 160.103. Indeed, the examples included in the Revised

Bulletin—such as the collection of an email address from an individual who visits a webpage and

“makes an appointment with a health care provider” or “enters symptoms in an online tool to obtain

a health analysis”—is precisely the sort of information that the HIPAA Rules have always

protected. See AR7. Thus, rather than breaking new ground, the Revised Bulletin simply




                                                17
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 28 of 57 PageID 1008



“highlight[s] the obligations” of regulated entities that already exist under the HIPAA Rules,

clarifies that those obligations apply to disclosures to tracking technologies, and reminds regulated

entities that the Privacy Rule permits them to disclose PHI to tracking technology vendors by

entering into business associate agreements or obtaining individuals’ authorizations. AR1–10.

Plaintiffs suggest that prior to the original Bulletin, the use of online tracking technology “was not

affected by HIPAA,” Pls.’ Br. at 2, but that is simply incorrect. Disclosures made to third parties

through online tracking technologies have never been exempt from the basic requirements of the

HIPAA Rules, even if some covered entities may have wrongly assumed otherwise. Indeed, other

entities self-reported disclosures of PHI to tracking technologies before the original Bulletin was

issued. See AR248–59; AR276–78; AR283–85.

       Furthermore, no legal consequences flow from the Revised Bulletin itself. The Revised

Bulletin explicitly states that it “do[es] not have the force and effect of law” and is “not meant to

bind the public in any way.” AR11. While such disclaimers are not dispositive of finality, the

Revised Bulletin’s explanation of its legal effect is bolstered by the fact that any legal

consequences require an administrative enforcement proceeding, which would then be subject to

judicial review. See AT&T Co. v. EEOC, 270 F.3d 973, 976 (D.C. Cir. 2001) (agency’s expressed

“view of the law” is non-final when it “has force only to the extent the agency can persuade a court

to the same conclusion”) The Revised Bulletin clarifies how OCR understands the HIPAA Rules

to apply to the use of tracking technologies, but it does not itself impose any legal duties, all of

which flow directly from the HIPAA Rules. See Luminant Generation Co. v. U.S. EPA, 757 F.3d

439, 442 & n.7 (5th Cir. 2014) (agency action is not final if “an agency merely expresses its view

of what the law requires of a party, even if that view is adverse to the party” (citation omitted)).




                                                 18
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                    Page 29 of 57 PageID 1009



        Nor does the Revised Bulletin bind HHS to any particular legal position. “Courts . . .

determine whether agency action binds the agency by looking for (1) mandatory language, (2)

actions that restrict the agency’s discretion to adopt a different view of the law, and (3) the creation

of safe harbors from legal consequences.” Texas v. Becerra, 89 F.4th 529, 538 (5th Cir. 2024)

(citation omitted). Contrary to Plaintiffs’ suggestion, see Pls.’ Br. at 25, the inclusion in the

original Bulletin of a single hypothetical describing circumstances in which PHI could potentially

be collected, see AR22, outside of the context of any particular case, does not create a mandate

and does not fix OCR’s legal position. See Prof'ls & Patients for Customized Care v. Shalala,

56 F.3d 592, 596–97 (5th Cir. 1995) (“As long as the agency remains free to consider the individual

facts in the various cases that arise, then the agency action in question has not established a binding

norm.” (citing Ryder Truck lines, Inc. v. United States, 716 F.2d 1369, 1377 (11th Cir. 1983)).

Moreover, the Revised Bulletin provides more examples, along with enforcement priorities, that

make plain the case-specific nature of OCR investigations. AR5–7, 11. And the Revised Bulletin

does not create any safe harbors; it merely directs covered entities to utilize methods of compliance

that already exist under the HIPAA Rules. See AR9–10.

        The Revised Bulletin is therefore distinguishable from the guidance documents at issue in

the authorities upon which Plaintiffs rely. In Becerra, the Fifth Circuit held that an HHS guidance

document addressing hospitals’ obligations under Emergency Medical Treatment and Active

Labor Act (EMTALA) was final agency action. 89 F.4th at 539–41. But central to the court’s

analysis was the fact that the guidance document was issued after the Supreme Court’s decision in

Dobbs v. Jackson Women’s Health Organization, 597 U.S. 215 (2022), which “caused a sea

change in the law.” Becerra, 89 F.4th at 541. Because of the “new ingredient” of Dobbs, the court

concluded that the guidance did not “merely restate” EMTALA’s preexisting requirements but set




                                                  19
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 30 of 57 PageID 1010



out “for the first time” the agency’s “legal position . . . regarding how EMTALA operates post-

Dobbs.” Id. Here, in contrast, there has been no change in the law. The Revised Bulletin merely

clarifies that the longstanding obligations of the HIPAA Rules apply in the context of online

tracking technologies.

       The Fifth Circuit’s decision in Texas v. EEOC, 933 F.3d 433 (5th Cir. 2019), is similarly

distinguishable. There, the court held that an EEOC guidance document constituted final agency

action where the guidance bound EEOC staff to a particular “analytical method in conducting

Title VII investigations,” “limit[ed] discretion respecting the use of certain evidence,” “direct[ed]

their decisions about which employers to refer for [employment] actions,” and “le[ft] no room for

EEOC staff not to” take certain actions. Id. at 443. By contrast, the Revised Bulletin does not

require OCR to adopt any method for conducting investigations—or indeed to take any action at

all. The single illustrative hypothetical, upon which Plaintiffs’ finality argument rests, see Pls.’

Br. at 25—and which has now been replaced with additional, more nuanced hypotheticals—bears

little resemblance to the detailed and comprehensive document at issue in EEOC.

       The non-binding district court cases Plaintiffs cite are also inapposite. See Pls.’ Br. at 24–

26 (citing Texas v. Brooks-LaSure, No. 6:23-cv-161, 2023 WL 4304749, at *8 (E.D. Tex. June 30,

2023) (guidance document was not reminder of agency’s previously articulated position where

agency had “on several occasions[] explicitly disclaimed” position adopted in guidance); Texas v.

HHS, No. 23-cv-22, --- F. Supp. 3d ----, 2023 WL 4629168, at *10 (W.D. Tex. July 12, 2023)

(guidance document issued after change in law resulting from Dobbs decision constituted final

action); Nat’l Fed’n of Indep. Bus. v. Dougherty, No. 3:16-CV-2568, 2017 WL 1194666, at *7

(N.D. Tex. Feb. 3, 2017) (agency interpretive letter was final where it changed legal interpretation

of statute and had been implemented against organizational plaintiff’s members). None of these




                                                 20
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24               Page 31 of 57 PageID 1011



decisions suggest that a mere reminder that preexisting legal obligations continue to apply in a

particular context constitutes final agency action.

        Finally, Plaintiffs cannot establish that the Revised Bulletin is final through references to

compliance letters and public statements. See Pls.’ Br. at 25. None of the cited materials instruct

that parties must comply with the Revised Bulletin, as opposed to the underlying requirements of

the HIPAA Rules themselves. See Pls.’ App’x in Supp. of Mot. for Summ. J. (“Pls.’ App’x”) at

16–17, ECF No. 26 (stating that the original Bulletin “provides a general overview of how the

HIPAA Rules apply . . . and reminds regulated entities of their obligations to comply with the

HIPAA Rules when using tracking technologies,” and advising recipient to “review the laws cited

in this letter and take actions” accordingly (emphases added)); id. at 19–20 (noting that the original

Bulletin “reminded entities covered by HIPAA of their responsibilities . . . under the law” and that

investigations are ongoing “to ensure compliance with HIPAA”). 5

        Thus, the Revised Bulletin does not constitute final agency action, and Plaintiffs cannot

proceed under the APA.

        B.     Plaintiffs Cannot Avoid the Finality Requirement by Recasting a Garden-
               Variety APA Claim as a Non-statutory Equitable Claim.

        In an apparent attempt to circumvent the finality requirement, Plaintiffs contend that their

statutory-authority claim may proceed not only under the APA, but also as a non-statutory

equitable claim (or, failing that, under the Declaratory Judgment Act). See Pls.’ Br. at 15. This

gambit should be rejected. Their central contention—that the challenged portion of the Revised

Bulletin exceeds the agency’s statutory authority—is a garden-variety APA claim. See 5 U.S.C.



5
 Plaintiffs also cite statements purportedly from a media interview with an acting OCR Deputy
Director. See Pls.’ Br. at 8. Although the link to the interview provided by Plaintiffs does not
contain a working link to the video recording, the cited quotations, to the extent they are accurate,
appear consistent with the cited portions of the other materials.


                                                 21
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 32 of 57 PageID 1012



§ 706(2)(C) (authorizing a court to hold unlawful agency action “in excess of statutory jurisdiction,

authority, or limitations, or short of statutory right”). Under these circumstances, it would be

inappropriate to rely on an implied equitable cause of action, least of all on Plaintiffs’ theory that

the challenged action falls so far outside the scope of the agency’s statutory authority as to render

it ultra vires, a contention that “is essentially a Hail Mary pass—and in court as in football, the

attempt rarely succeeds.” Nyunt v. Chairman, Broadcasting Bd. of Governors, 589 F.3d 445, 449

(D.C. Cir. 2009) (Kavanaugh, J.).

       1. Prior to the enactment of the APA, courts recognized the implied equitable authority to

enjoin the actions of federal officials that exceed their statutory authority. See Armstrong, 575

U.S. at 327; Fed. Exp. Corp. v. U.S. Dep’t of Comm., 39 F.4th 756, 763–64 (D.C. Cir. 2022)

(discussing development of non-statutory review of ultra vires actions); see also Apter v. HHS, 80

F.4th 579, 587–88 (5th Cir. 2023). Even if some form of ultra vires review survived the 1976

amendments to the APA—a question about which the Fifth Circuit has expressed significant doubt,

see Geyen v. Marsh, 775 F.2d 1303, 1307 (5th Cir. 1985) (raising substantial doubt that ultra vires

actions survive the 1976 amendments to the APA); see also Apter, 80 F.4th at 593 (“[U]nder our

precedent, Congress apparently did away with the ultra vires doctrine and other fictions

surrounding sovereign immunity when it amended the APA in 1976” (cleaned up))—Plaintiffs

cannot satisfy the demanding standard required to bring an ultra vires claim.

       “To invoke [an ultra vires action], a plaintiff must ‘do more than simply allege that the

actions of the officer are illegal or unauthorized.’”       Danos v. Jones, 652 F.3d        577, 583

(5th Cir. 2011) (quoting Ala. Rural Fire Ins. Co. v. Naylor, 530 F.2d 1221, 1226 (5th Cir. 1976)).

“[U]ltra vires claims are confined to extreme agency error where the agency has stepped so plainly

beyond the bounds of its statutory authority, or acted so clearly in defiance of it, as to warrant the




                                                 22
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                   Page 33 of 57 PageID 1013



immediate intervention of an equity court.” Fed. Exp., 39 F.4th at 764 (cleaned up). The

challenged action must “go beyond mere legal or factual error and amount to a ‘clear departure by

the [agency] from its statutory mandate’ or be ‘blatantly lawless’ agency action.” Id. (quoting

Oestereich v. Selective Serv. Sys. Loc. Bd. No. 11, 393 U.S. 233, 238 (1968)); see also Danos, 652

F.3d at 583 (plaintiff must “allege facts sufficient to establish that the officer was acting ‘without

any authority what[so]ever,’ or without any ‘colorable basis for the exercise of authority’” (quoting

Pennhurst State Sch. & Hosp. v. Halderman, 465 U.S. 89, 101 n.11 (1984)); Am. Airlines Inc. v.

Hermann, 176 F.3d 283, 293 (5th Cir. 1999) (ultra vires review is a “narrow exception” reserved

for only the most “egregious error[s]”). “Only error that is ‘patently a misconstruction of the Act,’

that ‘disregard[s] a specific and unambiguous statutory directive,’ or that ‘violate[s] some specific

command of a statute’ will support relief.” Fed. Exp., 39 F.4th at 764 (quoting Griffith v. Fed.

Labor Rel. Auth., 842 F.2d 487, 493 (D.C. Cir. 1988)).

       Plaintiffs fall far short of clearing that high bar. They do not suggest that HHS lacks

authority to issue guidance expressing its views about the requirements of the HIPAA Rules.

Cf. Apter, 80 F.4th at 588 (concluding that plaintiffs established the “strong merits argument” court

assumed was “needed to overcome sovereign immunity” because the Food and Drug

Administration (FDA) lacked statutory power to offer medical advice). Rather, Plaintiffs rest their

ultra vires claim on the argument that HHS is supposedly incorrectly interpreting the term IIHI in

the context of tracking technologies on certain unauthenticated webpages. See Pls.’ Br. at 15; id.

at 16–20; see also id. at 1 (arguing the original Bulletin is “contrary to law because it restricts the

use of information that is not protected under [HIPAA]”). Plaintiffs are wrong about that, see infra

pp. 27–35, but regardless, what they are asserting is a garden-variety argument that an agency

misinterpreted the operative statutory language. That cannot give rise to an ultra vires claim. See




                                                  23
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                    Page 34 of 57 PageID 1014



Fed. Exp., 39 F.4th at 765 (plaintiff “must show more than the type of routine error” in statutory

interpretation that would apply under the APA (citation omitted)); Danos, 652 F.3d at 583

(plaintiff must allege more than “that the actions of the officer are illegal or unauthorized” (citation

omitted)).

       Plaintiffs’ effort to cast a plain-vanilla APA claim in the guise of an implied equitable ultra

vires claim fails for the additional reason that such claims are available only where “there is no

alternative procedure for review.” Nyunt, 589 F.3d at 449 (citation omitted); see also Leedom v.

Kyne, 358 U.S. 184, 190 (1958) (allowing implied equitable ultra vires claim where the “absence

of jurisdiction . . . would mean a sacrifice or obliteration of a right which Congress has given

[plaintiffs], for there is no other means . . . to protect and enforce that right” (citation omitted)).

Here, Plaintiffs have an obvious alternative procedure for review: the APA. See 5 U.S.C.

§ 706(2)(C); see also Compl. ¶ 37. Courts confronted with parallel claims asserting the same

statutory violations under both equitable and express statutory causes of action have dismissed the

equitable claims. See Am. Airlines, 176 F.3d at 294 (dismissing ultra vires claim challenging non-

final agency action because “[i]f and when the [agency] finds that [the plaintiff] has violated the

Act and its regulations, [the plaintiff] will have . . . ‘an unquestioned right to review of both the

regulation and its application’” (quoting Bd. of Governors. of Fed. Rsrv. Sys v. MCorp Fin., Inc.,

502 U.S. 32, 43-44 (1991))); Exxon Chems., 298 F.3d at 469 (similar); see also Puerto Rico v.

United States, 490 F.3d 50, 59–60 (1st Cir. 2007) (dismissing non-statutory claim where APA

provided plaintiff with the “means of vindicating its rights without nonstatutory review”); Neb.

State Legis. Bd. United Transp. Union v. Slater, 245 F.3d 656, 659 (8th Cir. 2001) (plaintiff could

not rely on ultra vires exception where it “had a meaningful and adequate opportunity for judicial

review” through statutory review scheme, even when that claim was barred (citation omitted));




                                                  24
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 35 of 57 PageID 1015



Jafarzadeh v. Duke, 270 F. Supp. 3d 296, 311 (D.D.C. 2017) (“[B]ecause plaintiffs are able to

assert the same claim through the APA, they cannot obtain relief . . . through the Court’s inherent

power to review ultra vires agency actions.”).

        Allowing Plaintiffs to utilize the ultra vires exception to assert a mine-run challenge to

agency action in order to circumvent the finality requirement would distort the judicial review

scheme. There would be little reason for any plaintiff to rely on the APA or a specific statutory

judicial review provision if it were free to bring an implied equitable action based on the same

theory without having to comply with the limitations Congress imposed on those review

provisions. See 33 Charles A. Wright & Arthur R. Miller, Fed. Prac. & Proc. § 8307 (3d ed. Apr.

2020 update) (recognizing that if implied causes of action were always available to challenge

agency action, it would “raise[] the question of why anyone would bother to use more limited

causes of action created by special statutory review proceedings and the APA”). That conclusion

is consistent with the “doctrine of equity jurisprudence that courts of equity should not act . . .

when the moving party has an adequate remedy at law.” Younger v. Harris, 401 U.S. 37, 43

(1971); see also FCC v. ITT World Commc’ns, Inc., 466 U.S. 463, 468 (1984) (“[l]itigants may

not evade” a provision that vests the courts of appeals with exclusive jurisdiction by requesting a

district court enjoin agency “action as ultra vires”); Block v. N. Dakota ex rel. Bd. of Univ. & Sch.

Lands, 461 U.S. 273, 284–85 (1983) (plaintiffs could not avoid a statute of limitations or other

restrictions by resorting to ultra vires claim).

        Plaintiffs’ reliance on the Fifth Circuit’s decision in Apter, see Pls.’ Br. at 15—which

permitted the plaintiffs to move forward on a non-statutory cause of action, 80 F.4th at 590—is

misplaced. To start, the plaintiffs in Apter alleged that the FDA lacked the statutory power to

engage in the type of action in question. See id. at 588. By contrast, Plaintiffs here assert only a




                                                   25
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 36 of 57 PageID 1016



routine argument that the agency misinterpreted the statute. Moreover, in Apter, the Government

did not argue either in its motion to dismiss or on appeal that the plaintiffs had an adequate

alternative procedure for review.     See Mot. to Dismiss, Apter v. HHS, No. 3:22-cv-184,

ECF No. 25; Br. for Appellees, Apter v. HHS, No. 22-40802, ECF No. 37; see also Webster v.

Fall, 266 U.S. 507, 511 (1925) (“Questions which merely lurk in the record, neither brought to the

attention of the court nor ruled upon, are not to be considered as having been so decided as to

constitute precedents.”).

       Thus, Plaintiffs cannot invoke a non-statutory ultra vires claim to circumvent the finality

requirement under the APA.

       2. Nor can Plaintiffs rely on the Declaratory Judgment Act to provide them a cause of

action where one would not . The Declaratory Judgment Act does not itself create an independent

cause of action. See, e.g., Braidwood Mgmt., Inc. v. EEOC, 70 F.4th 914, 933 (5th Cir. 2023);

Harris Cnty. v. MERSCORP Inc., 791 F.3d 545, 552 (5th Cir. 2015). “[T]he Act ‘enlarged the

range of remedies available in the federal courts,’ but it did not create a new right to seek those

remedies.” Harris Cnty., 791 F.3d at 552 (quoting Skelly Oil Co. v. Phillips Petroleum Co., 339

U.S. 667, 671 (1950)). Here, Plaintiffs do not assert that HHS would be “within its power to bring

an enforcement action” in federal court against them. See Braidwood, 70 F.4th at 932; see also id.

at 933 (explaining that “it is the underlying cause of action of the defendant against the plaintiff

that is actually litigated in a declaratory judgment action”). They thus fail to show that “the

independent cause of action required for a declaratory judgment exists.” Id. at 932.

       Accordingly, Plaintiffs cannot evade the APA’s finality requirement by resort to the

Declaratory Judgment Act.




                                                26
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 37 of 57 PageID 1017



II.       PLAINTIFFS’ CLAIMS FAIL ON THE MERITS.

          Even if the Court had jurisdiction over Plaintiffs’ claims, it should reject them on the

merits.     The Revised Bulletin’s reminder that the HIPAA Rules apply to online tracking

technologies is entirely consistent with the statutory definition of IIHI. Moreover, it is not arbitrary

and capricious and did not require notice-and-comment procedures.

          A.     The Revised Bulletin Is Consistent with HIPAA’s Definition of IIHI.

          The Revised Bulletin’s reminder that the HIPAA Rules apply to PHI collected by online

tracking technologies on unauthenticated webpages is consistent with the statutory definition of

IIHI. HIPAA and the HIPAA Rules both define IIHI to include: “any information” that (1) is

created or received by a covered entity; (2) relates to the past, present, or future health condition

of an individual; the provision of health care to an individual; or the past, present, or future

payment for health care; and (3) either identifies the individual or “with respect to which there is

a reasonable basis to believe that the information can be used to identify the individual.” 42 U.S.C.

§ 1320d(6); 45 C.F.R. § 160.103. In defining IIHI, Congress consciously used the expansive terms

“relate[] to” and “reasonable basis to believe” to ensure that covered entities would broadly protect

information about past, present, or future health conditions; health care; or payment for health care

that might be able to identify the individuals linked to those health care needs. See, e.g., Merriam-

Webster’s Dictionary (defining “relate” as having a “connection” and “relate to” as “to be

connected with” or “to be about” something); 6 Black’s Law Dictionary (11th ed. 2019) (defining

“related” as “[c]onnected in some way”); see also Beiser v. Weyler, 284 F.3d 665, 669

(5th Cir. 2002) (“The phrase ‘relates to’ generally conveys a sense of breadth.”).



6
 See https://www.merriam-webster.com/dictionary/relate; https://www.merriam-
webster.com/dictionary/relate%20to.


                                                  27
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24             Page 38 of 57 PageID 1018



        The capacious definition of IIHI plainly can cover information collected by tracking

technologies embedded on regulated entities’ websites. 7 While not always the case, tracking

technologies on unauthenticated webpages that either address specific health symptoms or

conditions or allow searching for particular medical providers or appointments could have access

to PHI when the information disclosed “is both identifiable and related to the individual’s health

or future health care.” AR5–7. This guidance aligns with the text of HIPAA and the Privacy Rule.

Indeed, tracking technologies capture information from users as they navigate to and interact with

regulated entities’ websites, meaning the users’ information is “received by” a regulated entity.

Those technologies can capture information that can be used to identify individuals, such as

IP addresses, email addresses, and geographic locations. See 45 C.F.R. § 164.514 (listing these

categories of information as individual “identifiers”).     Indeed, the very point of tracking

technologies is to track users. See AR227–28. And if an individual navigates to a website to log

into a patient portal, to access information about their medical condition or symptoms, to look for

a particular provider, or to seek a health care appointment, some of the information gathered by

tracking technologies—such as the contents of the page, what buttons or links the user clicked, or

any search terms the user may have employed—could disclose information about that individual’s

past, present, or future health care. See In re Meta Pixel Healthcare Litig., 647 F. Supp. 3d 778,

791–93 (N.D. Cal. 2022) (finding that a covered entity disclosed individuals’ PHI to an online

tracking technology on a patient portal login page).


7
  Plaintiffs expressly disclaim any challenge to the portions of the Revised Bulletin addressing
online tracking technologies used on user-authenticated webpages or unauthenticated webpages
that request login information. See Pls.’ Br. at 6 n.2. As the Revised Bulletin explains, tracking
technologies used on such pages (including patient portals), can capture information about
everything from a user’s actual diagnoses and treatment options to communications with medical
providers to billing information, see AR4–5; AR227–28—all while linking that information
directly to the user.


                                                28
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 39 of 57 PageID 1019



       Take, for example, a hypothetical Ms. Doe who navigates to a hospital’s homepage.

Tracking Ms. Doe’s path to most of the unauthenticated webpages she could visit from there—

such as pages providing the hospital’s visiting hours, the hospital’s address and driving directions,

or an alphabetical directory of all medical departments or providers—most likely would not,

without more, result in the disclosure of PHI to a third-party tracking technology. Consider,

however, a scenario in which Ms. Doe is searching for a particular medical provider at the hospital.

From the homepage, she clicks on a link to a page entitled “Find a Doctor,” enters “oncologist”

into the search bar, and then through a drop-down menu of conditions filters for particular

oncologists that specialize in reviewing abnormal mammograms. An online tracking technology

employed on those webpages that collects each of those interactions—which are linked to

Ms. Doe’s IP address and geographic location, and potentially even her Facebook or Google

account—could have access to PHI, even though Ms. Doe never entered any login credentials.

Data transmitted to the tracking technology vendor could include information that has a connection

with Ms. Doe’s past, present, or future health care needs, and there is a reasonable basis to believe

that the information can be used to identify her. See Cousin v. Sharp Healthcare, No. 22-cv-2040,

2023 WL 8007350, at *3 (S.D. Cal. Nov. 17, 2023) (concluding that plaintiffs plausibly alleged

that a tracking technology used on a hospital’s unauthenticated webpage collected PHI where

tracker “connect[s] internet activity to a specific individual using IP addresses and Facebook

credentials” and where plaintiffs used website to search for “doctors who specialize in [particular

medical] conditions” and for “information about their conditions (i.e., symptoms, treatments,

procedures),” and one plaintiff “booked an appointment to obtain treatment for a medical

condition” on webpage).




                                                 29
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 40 of 57 PageID 1020



       Plaintiffs argue that tracking technologies used on unauthenticated webpages “can never”

provide a reasonable basis to identify “the individual” to whose health care needs the information

“relates.” See Pls.’ Br. at 17. That is supposedly because an individual reasonably identified by

an IP or email address may be visiting a webpage for “generic reasons that are unrelated” to

anyone’s health care needs (e.g., for research or quality control, or by error) or for reasons related

to the health care needs of someone other than the individual. Id. at 17–18; see also id. at 19–20.

       Plaintiffs’ focus on hypothetical alternative reasons for visiting an unauthenticated

webpage is a red herring. In fact, the Revised Bulletin specifically acknowledges that some

individuals visiting webpages that address specific medical conditions may be there for non-health

care reasons, and that those types of visits would not result in the disclosure of PHI. See AR6.

But it is beyond dispute that some individuals who visit these sorts of webpages are doing so in

connection with their own health care needs. See Compl. ¶ 5 (alleging that tracking technologies

are used, inter alia, to “help[] community members to more easily navigate to healthcare

information so that they can better manage their healthcare,” “allow visitors to virtually tour the

facilities where particular procedures are performed,” and provide “information about where

healthcare services are available”); see also Corrected Br. of Amici Curiae State Hosp. Ass’ns

at 8–9, ECF No. 37 (similar). Common sense dictates that at least some users who visit these

webpages—like our hypothetical Ms. Doe—are doing so to learn information about their own

medical conditions, to inquire about specific medical practices or providers for the purpose of

obtaining health care, to actually obtain an appointment with a particular provider, or for other

reasons related to their own health care.

       Indeed, Plaintiffs themselves have informed OCR that they utilize analytics to track

increases in community members searching for certain types of vaccinations—such as for the flu




                                                 30
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                    Page 41 of 57 PageID 1021



or COVID-19—in order to allocate resources to address expected future need for vaccinations.

AR36. Of course, in acknowledging that the data is useful in predicting the number of individuals

who will seek vaccines, Plaintiffs are implicitly recognizing that individuals are seeking this

information on the web for the purpose of their own future health care needs. What is more,

Plaintiffs are recognizing that the value they derive from this data—at least in some

circumstances—stems directly from the fact that individuals’ web searches are reflective of their

future health care needs. And the collection of that information by tracking technologies, when it

can be used to identify those individuals, is PHI.

       Although tracking technologies on unauthenticated websites may collect identifying

information from users who are not visiting the webpage for their health care needs, identifying

information about users who are visiting the webpage for their health care needs constitutes IIHI.

Examples included in the Revised Bulletin make this distinction plain. AR6–7. Because the nature

of tracking technologies may make it difficult for regulated entities to disaggregate IIHI from non-

IIHI when disclosing information to third-party vendors, it may be prudent for regulated entities

to prevent disclosures of non-IIHI if that is the only way to ensure that they are not disclosing PHI

to third parties in violation of the Privacy Rule. But this potential practical consequence of

deploying tracking technologies does not indicate that the Revised Bulletin redefines IIHI to cover

all information collected from any individual visiting a webpage addressing specific symptoms,

medical conditions, or allowing users to search for providers or appointments.

       Plaintiffs next point to language in the original Bulletin that explained that “IIHI collected

on a regulated entity’s website . . . generally is PHI, even if the individual does not have an existing

relationship with the regulated entity” because “the information connects the individual to the

regulated entity” and is thus “indicative that the individual has received or will receive health care




                                                  31
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                    Page 42 of 57 PageID 1022



services or benefits from the covered entity.” AR20–21; see also Pls.’ Br. at 18. Plaintiffs read

this language—which the Revised Bulletin modifies and clarifies—to suggest that the original

Bulletin reflected a view that every visit to an unauthenticated webpage addressing medical

conditions or allowing searches for providers or appointments necessarily “relates to” the health

care needs of the user, see Pls.’ Br. at 18–19 (arguing this language expands the requirement that

IIHI must “relate[] to” an individual’s health care needs to cover information that “might relate to

an individual’s health”). Not so. The Revised Bulletin makes clear that “the mere fact that an

online tracking technology connects [an] IP address . . . with a visit to a webpage addressing

specific health conditions or listing health care providers is not a sufficient combination of

information to constitute IIHI” if that visit “is not related to an individual’s past, present, or future

health, health care, or payment for health care.” AR4 (emphasis added). The Revised Bulletin

illustrates this distinction by explaining that the transmission of information identifying “a student

. . . writing a term paper” as having accessed a webpage about specific services provided by a

hospital would not constitute PHI, whereas the transmission of information identifying an

individual looking at the same webpage “to seek a second opinion on treatment options for their

brain tumor” would. AR6.

        Understood properly, the language to which Plaintiffs point—and particularly the portion

that the Revised Bulletin retains—merely states that an “existing relationship” between an

individual and a regulated entity is not a prerequisite for information to constitute PHI. It is not

unusual for the HIPAA Rules to protect IIHI acquired by a covered entity regardless of whether

an existing relationship between the entity and the individual exists. For example, if a primary

care physician were to refer a patient to a particular cardiologist, and the patient provided certain

basic health and insurance information to the cardiologist before deciding on a different course of




                                                   32
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 43 of 57 PageID 1023



treatment, the Privacy Rule would require the cardiologist to maintain the privacy of that

information, even though the cardiologist has no existing relationship with the patient. That is

because, despite the absence of any existing relationship, the information connects the patient with

the cardiologist—and indicates that the patient needs cardiology care—and thus relates to the

patient’s past, present, or future health or health care. Similarly, IIHI collected on a covered

entity’s website, whether from a patient portal or certain unauthenticated webpages, may constitute

PHI even if there is not an “existing relationship” between the user and the covered entity. AR4.

       Plaintiffs’ other arguments fare no better. Plaintiffs argue that the Revised Bulletin

“disregard[s] the HIPAA balance” between promoting efficiency in health care and protecting

privacy by failing to give due consideration to the beneficial uses of tracking technologies. Pls.’

Br. at 20. But while there could be benefits from the freer disclosure of PHI, as the Privacy Rule

itself recognizes, regulated entities are incentivized to “over-use” PHI because they reap the full

benefits from the disclosures but do not “bear a significant share . . . of the cost to patients (in

terms of lost privacy).” 65 Fed. Reg. at 82762. That is why the Privacy Rule strikes a careful

balance by generally restricting the disclosure of PHI except for specific and limited purposes that

promote the efficient provision of high-quality health care. See, e.g., 45 C.F.R. § 164.502(a). The

Revised Bulletin specifically acknowledges the potential benefits of using tracking technologies,

and reminds regulated entities that, while they enjoy these benefits, they remain responsible for

protecting PHI in situations where it may be collected through tracking technologies. AR3–11.

Far from being novel, this reminder merely reiterates the same balance between privacy and

efficiency that has always been reflected in the Privacy Rule.

       Furthermore, neither the HIPAA Rules nor the Revised Bulletin prevent Plaintiffs from

using tracking technologies. There is nothing in the HIPAA Rules or the Revised Bulletin that




                                                33
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 44 of 57 PageID 1024



bars Plaintiffs, their members, or any other regulated entities from using tracking technologies to

“help improve care or the patient experience,” Pls.’ Br. at 20 (quoting AR20), consistent with their

obligation to protect PHI. To the contrary, the Revised Bulletin provides regulated entities

guidance about how they might deploy tracking technologies in a manner that complies with the

HIPAA Rules. AR8–11. For example, regulated entities can permissibly disclose PHI to third

parties through tracking technologies by entering into business associate agreements with third-

party tracking technology vendors or with vendors who can de-identify data before transferring it

to tracking technology vendors. See id.; see also 45 C.F.R. § 164.502(a)(4) (permitting disclosures

to business associates); id. § 164.514 (permitting disclosure of de-identified data). Or they could

seek valid authorizations from users. See id. § 164.502(a)(1)(iv). But regulated entities may not

disclose PHI to third-party vendors without complying with the HIPAA Rules.

       Plaintiffs next argue that courts have “rejected . . . the interpretation underlying” the

Revised Bulletin in cases brought by private litigants against hospital systems and tracking

technology companies for disclosures of information through tracking technologies. See Pls.’ Br.

at 21. These cases are all non-binding and engage only in a cursory analysis of the statutory

language, without the benefit of the Government’s participation. See Smith v. Facebook, Inc., 745

F. App’x 8, 9 (9th Cir. 2018); Kurowski v. Rush Sys. for Health, No. 22 C 5380, 2023 WL 4707184,

at *3–4 (N.D. Ill. July 24, 2023); Hartley v. Univ. of Chi. Med. Ctr., No. 22 C 5891, 2023 WL

7386060, at *2 (N.D. Ill. Nov. 8, 2023). The Court should decline to follow them. See Cousin,

2023 WL 8007350, at *3 (concluding that web tracker on unauthenticated page captured PHI).

       Nor can Plaintiffs establish inconsistency between the Revised Bulletin and the statutory

text by pointing to extra-record evidence to suggest that certain federal agency websites use

tracking technologies. See Pls.’ Br. at 21. To the extent any federal agencies are using tracking




                                                34
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                   Page 45 of 57 PageID 1025



technologies that collect information relating to a user’s past, present, or future health care needs

and which can be used to identify the user, the Revised Bulletin reminds them to protect that

information consistent with the requirements of the HIPAA Rules, just as it does for regulated

entities outside of the federal government.

       Finally, Plaintiffs invoke the canon of constitutional avoidance to suggest that any

interpretation of IIHI that covers information collected on unauthenticated websites raises “serious

constitutional concerns that the Revised Bulletin abridges health care providers’ own First

Amendment rights.” Id. But the constitutional avoidance canon “has no application in the absence

of statutory ambiguity,” United States v. Oakland Cannabis Buyers’ Co-op., 532 U.S. 483, 494

(2001), and as discussed above, tracking technologies on certain types of unauthenticated pages

can collect information that relates to users’ past, present, or future health care needs and that can

be used to identify those users, see supra pp. 27–31. There is no statutory ambiguity, as that

information fits neatly within the statutory definition of IIHI.

       Even if there were ambiguity, the interpretation set out in the Revised Bulletin presents no

serious constitutional concerns. Plaintiffs rely on the Supreme Court’s decision in Sorrell v. IMS

Health Inc., 564 U.S. 552 (2011), to argue that the Revised Bulletin amounts to a content-based

restriction on speech to which strict scrutiny must apply. Pls.’ Br. at 22–23. But that is the wrong

standard. Even assuming arguendo that a restriction on disclosure of information captured by

tracking technologies is a regulation of speech rather than conduct and that any such restriction is

content-based, it does not follow that strict scrutiny would apply. See Sorrell, 564 U.S. at 571–72

(declining to apply strict scrutiny to restriction on speech that was both “content based and . . .

viewpoint discriminatory”).




                                                 35
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 46 of 57 PageID 1026



       To the extent the interpretation in the Revised Bulletin were understood to regulate speech,

that speech—consisting of information compiled from current or potential customers that is

disclosed to third parties pursuant to a contractual relationship, for the purpose of “provid[ing]

better information” about health care services on offer, Pls.’ Br. at 9—is commercial in nature.

See, e.g., Boelter v. Hearst Commc’ns Inc., 192 F. Supp. 3d 427, 445–46 (S.D.N.Y. 2016) (state

law restricting disclosure of personally identifiable information regulated commercial speech

because the information “relays an individual’s economic decisions, elucidates an individual’s

economic preferences, and facilitates the proposal of new commercial transactions,” and

“businesses’ increasing ability to profit from the collection and sale of data supports the conclusion

that disclosing consumer information is—primarily, if not entirely—an economic act” (citation

omitted)); see also U.S. West, Inc. v. FCC, 182 F.3d 1224, 1233 n.4 (10th Cir. 1999) (internal

business communications intended “to facilitate the marketing of telecommunications services”

constituted commercial speech); AR227–28 (noting that tracking technologies are frequently

employed to “track user behavior on the web for . . . advertising”).

       The constitutionality of restrictions on commercial speech is analyzed not under strict

scrutiny but under the more permissive intermediate scrutiny standard set forth in Central Hudson

Gas & Electric Corp. v. Public Service Commission of New York, 447 U.S. 557 (1980). See Hearst,

192 F. Supp. 3d at 447 (applying Central Hudson standard to restriction on disclosure of personally

identifiable information to data miners); Boelter v. Advance Mag. Publ’rs Inc., 210 F. Supp. 3d

579, 598–99 (S.D.N.Y. 2016) (same). Where the speech concerns lawful activity and is not

misleading, the Central Hudson standard looks to whether the restriction is justified by a

substantial governmental interest, whether it directly advances that interest, and whether it is




                                                 36
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                   Page 47 of 57 PageID 1027



“narrowly drawn” and not more extensive than necessary to serve the interest. See, e.g., Am. Acad.

of Implant Dentistry v. Parker, 860 F.3d 300, 307 (5th Cir. 2017).

       The Revised Bulletin’s interpretation of HIPAA readily passes muster under that standard.

First, the government’s interest in protecting the privacy of consumers’ health information is

plainly substantial. See, e.g., 65 Fed. Reg. at 82465–68 (discussing harms from loss of privacy,

which inhibit reaping “the full benefits of electronic technologies,” and the need for privacy

protections to ensure “the effective delivery of health care, both to individuals and to

populations”); see also Trans Union Corp. v. FTC, 245 F.3d 809, 818 (D.C. Cir. 2001) (finding

government’s “interest [in] protecting the privacy of consumer credit information . . . is

substantial”); Hearst, 192 F. Supp. 3d at 448 (state interest in preventing unauthorized disclosure

of personally identifiable information was substantial). Second, the understanding set out in the

Revised Bulletin directly advances that interest, as it reflects that HIPAA restricts disclosure by

the entities that, other than the users themselves, are “those most likely to possess and collect that

information,” which “reduces the likelihood of consumers’ private details becoming public.”

Hearst, 192 F. Supp. 3d at 449. Third, the Revised Bulletin’s interpretation is narrowly drawn,

consistent with HIPAA and the HIPAA Rules. See Bd. of Trs. of State Univ. of N.Y. v. Fox, 492

U.S. 469, 480 (1989) (government must show a fit between interest and law’s restrictions that is

“not necessarily perfect,” but rather “reasonable”). Tracking these longstanding regulations, it

reflects that the statute is targeted at the entities most likely to possess sensitive information, and

it contains several exceptions that authorize disclosures to third parties for specific purposes, see

45 C.F.R. § 164.502(a), including exceptions that would permit covered entities to disclose PHI to

third-party tracking technology vendors through either business associate agreements or pursuant

to individuals’ authorizations, see AR8–10. Indeed, in Sorrell itself, the Court specifically




                                                  37
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 48 of 57 PageID 1028



identified the Privacy Rule, which permits disclosure of sensitive information “in only a few

narrow and well-justified circumstances,” as an example of a permissibly tailored regulation. 564

U.S. at 573.

       In sum, Plaintiffs have not identified any inconsistency between the Revised Bulletin and

HIPAA’s statutory text. Accordingly, the Court should reject Count One.

       B.      The Revised Bulletin Is Not Arbitrary and Capricious.

       Plaintiffs also argue that they are entitled to summary judgment because the Revised

Bulletin is the product of arbitrary and capricious decisionmaking. See Pls.’ Br. at 27–30.

However, the Revised Bulletin expresses a reasonable—and, indeed, correct—explanation of what

HIPAA and the HIPAA Rules have long required.

       The APA’s arbitrary and capricious standard is “narrow and highly deferential.” Sierra

Club v. U.S. Dep’t of Interior, 990 F.3d 909, 913 (5th Cir. 2021) (quoting Medina Cnty. Env’t

Action Ass’n v. Surface Transp. Bd., 602 F.3d 687, 699 (5th Cir. 2010)). In applying the standard,

a court “is not to substitute its judgment for that of the agency.” Motor Vehicle Mfrs. Ass’n of the

U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983). “A court simply ensures that

the agency has acted within a zone of reasonableness and, in particular, has reasonably considered

the relevant issues and reasonably explained the decision.” FCC v. Prometheus Radio Project,

592 U.S. 414, 423 (2021).

       Plaintiffs principally argue that the Revised Bulletin is unreasonable because it offered “no

explanation whatsoever” to support the conclusion that connecting a user’s IP address to an

unauthenticated webpage with specific health-related content can satisfy the statutory definition

of IIHI. See Pls.’ Br. at 28 (citation omitted). But on APA review, courts must uphold a “decision

[of] less than ideal clarity . . . if the agency’s path may reasonably be discerned.” Alaska Dep’t of




                                                 38
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 49 of 57 PageID 1029



Env’t Conservation v. EPA, 540 U.S. 461, 497 (2004) (citation omitted). That standard is more

than met here. The Revised Bulletin provides a detailed discussion of tracking technologies and

the sorts of information that they can gather, replete with citations to the relevant regulatory text.

AR3–8. And it incorporates for comparative purposes examples of circumstances in which it is

unlikely that a tracking technology would capture PHI, and those when a tracking technology could

capture PHI. AR4–8. These examples are squarely consistent with the statutory language. See

supra pp. 27–35. No further explanation was required. See Prometheus, 592 U.S. at 423 (agency

decision need only be “reasonably explained”).

       Plaintiffs’ argument that the Revised Bulletin reflects an unacknowledged change in

position, see Pls.’ Br. at 29, fails for the same reason. The Revised Bulletin does not change the

definition of IIHI—it merely highlights and provides guidance about how the HIPAA Rules apply

to online tracking technologies. The fact that some entities filed breach reports with OCR

regarding the use of tracking technologies before the original Bulletin was published underscores

this point. Nor can Plaintiffs manufacture a purported “inconsistency” in the application of the

HIPAA Rules, see id., simply by asserting that some federal agencies use tracking technologies.

       Finally, Plaintiffs argue that the Revised Bulletin fails to establish that the costs of

complying with HIPAA’s requirements with respect to tracking technologies is justified by the

privacy benefits. See Pls.’ Br. at 29–30. But they cite no statutory provision requiring that sort of

cost-benefit analysis for every agency action, much less in a mere guidance document. See

Michigan v. EPA, 576 U.S. 743, 752 (2015) (although when “[r]ead naturally in . . . context” in

the Clean Air Act, the statutory phrase “‘appropriate and necessary’ requires at least some attention

to cost,” there are “undoubtedly settings” in which it “does not”). Regardless, the relevant balance

was struck long ago in HIPAA and the Privacy Rule. Indeed, the Privacy Rule has always




                                                 39
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 50 of 57 PageID 1030



recognized that, notwithstanding the benefits of the electronic transmission of health information,

the protection of PHI is essential for the provision of health care, and the loss of privacy imposes

significant harms on health care consumers, exposing them to threats of “theft,” “embarrassment,”

and unwanted intrusion into the sensitive details of their lives. 65 Fed. Reg. at 82,464–65; see also

AR3 (listing “misinformation, identity theft, stalking, and harassment” as harms from disclosure

of PHI through tracking technologies). Moreover, because entities “gain[] the full benefit[s] of

using such information” but “do[] not suffer the losses from disclosure” of PHI, the incentives for

regulated entities “discourage privacy protection.” 65 Fed. Reg. at 82,761. Thus, the Privacy Rule

strikes a “balance [between] the needs of the individual [and] the needs of the society,” id.

at 82,464, by allowing the disclosure of PHI only for certain specific uses—including through

business associate agreements or pursuant to valid authorizations. In issuing the Revised Bulletin,

OCR was entitled to rely on the harms identified by the Privacy Rule and the balance struck therein

between the benefits of collecting and using PHI and the costs to consumers. See Nat’l Ass’n of

Mfrs. v. SEC, 748 F.3d 359, 369–70 (D.C. Cir. 2014) (agency could rely on “Congress[’s]

conclu[sion], as a general matter,” that rule’s “costs were necessary and appropriate in furthering”

statutory goals (citation omitted)); see also Consumer Elecs. Ass’n v. FCC, 347 F.3d 291, 303

(D.C. Cir. 2003) (rule that “court is not to substitute its judgment for that of the agency” is

“especially true when the agency is called upon to weigh the costs and benefits of alternative

policies” (citation omitted).

       Accordingly, the Revised Bulletin is well within the zone of reasonableness, and the Court

should reject Plaintiffs’ claim that the Revised Bulletin is arbitrary and capricious.




                                                 40
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                 Page 51 of 57 PageID 1031



       C. The Revised Bulletin Did Not Require Notice-and-Comment Procedures.

       Plaintiffs’ final argument is that the challenged portion of the Revised Bulletin amounts to

a legislative rule that could only be issued pursuant to notice-and-comment rulemaking procedures.

See Pls.’ Br. at 30–34. That is incorrect. The APA expressly exempts “interpretative rules, general

statements of policy, or rules of agency organization, procedure, or practice” from notice-and-

comment rulemaking. 5 U.S.C. § 553(b)(A). As a policy statement, the Revised Bulletin is exempt

from notice-and-comment procedures.

       Policy statements are generally defined in contrast to “substantive” rules. Substantive rules

have “the force and effect of law,” Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 96 (2015) (quoting

Chrysler Corp. v. Brown, 441 U.S. 281, 302–03 (1979)), while policy statements are “issued by

an agency to advise the public prospectively of the manner in which the agency proposes to

exercise a discretionary power,” Lincoln v. Vigil, 508 U.S. 182, 197 (1993) (quoting Chrysler

Corp., 441 U.S. at 302 n.31). The Fifth Circuit “evaluate[s] two criteria to distinguish policy

statements from substantive rules: whether the rule (1) imposes any rights or obligations and

(2) genuinely leaves the agency and its decision-makers free to exercise discretion.” Flight

Training Int’l, Inc. v. FAA, 58 F.4th 234, 242 (5th Cir. 2023) (quoting Texas v. United States, 809

F.3d 134, 171 (5th Cir. 2015)).

       Here, for many of the reasons discussed above, the Revised Bulletin is not a substantive

rule. The Revised Bulletin does “not have the force and effect of law,” as it explicitly states. See

AR11. It does not impose any new legal rights or obligations, as any consequences from a

regulated entity’s use of online tracking technologies on an unauthenticated webpage flow from

the HIPAA Rules themselves. Moreover, the Revised Bulletin does not remove discretion from

agency decisionmakers with respect to any particular case or bind them to take any specific action.




                                                41
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                   Page 52 of 57 PageID 1032



Indeed, the Revised Bulletin includes guidance about OCR’s enforcement priorities, further

emphasizing that the agency plans to exercise its enforcement discretion to focus on compliance

with the Security Rule, which helps to lower the risk of unauthorized access to PHI that “could

lead to harm to individuals,” that its investigations are “fact-specific,” and that it “considers all

available evidence in determining compliance and remedies for potential noncompliance,”

AR11—quintessential statements of policy.

       Even if the Revised Bulletin were considered a substantive rule, it would at most be an

interpretive rule and thus still exempt from notice-and-comment procedures. See Flight Training

Int’l, 58 F.4th at 241 n.5 (“[T]he requirement of notice and comment attaches only to rules that are

both ‘substantive’ and ‘legislative.’”). Interpretive rules are “issued by an agency to advise the

public of the agency’s construction of the statutes and rules which it administers.” Perez, 575 U.S.

at 97 (quoting Shalala v. Guernsey Mem’l Hosp., 514 U.S. 87, 99 (1995)). “In contrast to

legislative rules, which ‘effect[] a substantive change in existing law or policy,’ interpretive rules

‘clarify a statutory or regulatory term, remind parties of existing statutory or regulatory duties, or

‘merely track[]’ preexisting requirements and explain something the statute or regulation already

required.” POET Biorefining, LLC v. EPA, 970 F.3d 392, 407 (D.C. Cir. 2020) (quoting Mendoza

v. Perez, 754 F.3d 1002, 1021 (D.C. Cir. 2014)); see also Brown Exp., Inc. v. United States, 607

F.2d 695, 700 (5th Cir. 1979) (“Generally speaking, . . . legislative rules are those which create

law, . . . whereas interpretative rules are statements as to what the administrative officer thinks the

statute or regulation means.” (citation omitted)). To distinguish between the two types of

substantive rules, the Fifth Circuit looks to (1) “whether the agency intended to speak with the

force of law,” (2) whether the rule is published in the Code of Federal Regulation, (3) “whether

the agency ‘explicitly invoked its general legislative authority,’” (4) “whether the agency claimed




                                                  42
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 53 of 57 PageID 1033



Chevron deference,” and (5) “whether the rule will produce significant effects on private interests.”

Mock v. Garland, 75 F.4th 563, 580 (5th Cir. 2023) (cleaned up).

       Here, the weight of these factors demonstrate that the Revised Bulletin is not a legislative

rule. As discussed, the Revised Bulletin does not speak with the force of law, and it explicitly

disclaims having a binding effect. See supra pp. 18–19. It does not create any new law, but rather

reminds regulated entities that their preexisting duties under the HIPAA Rules apply to online

tracking technologies, including on unauthenticated webpages. The Revised Bulletin was not

published in the Code of Federal Regulations (notwithstanding Plaintiffs’ curious suggestion that

this factor could be met by press releases and letters that also do not appear in the Code of Federal

Regulations, see Pls.’ Br. at 33). And HHS did not claim Chevron deference.

       Contrary to Plaintiffs’ suggestion, see Pls.’ Br. at 33, the agency also did not “explicitly

invoke[] its general legislative authority.” Mock, 75 F.4th at 580 (citation omitted). Though the

Revised Bulletin notes that OCR “administers and enforces the HIPAA Rules,” AR1, unlike the

rule at issue in Mock, the Revised Bulletin does not “explicitly” cite any statutory rulemaking

authority under HIPAA. Id. (agency invoked its legislative authority by citing statutes conferring

rulemaking authority); see also Factoring Criteria for Firearms with Attached “Stabilizing

Braces,” 88 Fed. Reg. 6478, 6481 (Jan. 31, 2023) (expressly citing authority for “administering

and enforcing” statutes, including “provisions . . . that authorize the Attorney General to

promulgate regulations”). Nor can Plaintiffs conjure an explicit reference from the Revised

Bulletin’s footnote citation of 45 C.F.R. part 160. See Pls.’ Br. at 33. That footnote cites the

entirety of 45 C.F.R. parts 160 and 164, i.e., the HIPAA Rules. A wholesale reference to the

HIPAA Rules is hardly an explicit invocation of HHS’s rulemaking authority. Lastly, the Revised




                                                 43
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                  Page 54 of 57 PageID 1034



Bulletin itself does not produce effects on private interests. Those all flow from the HIPAA Rules’

preexisting requirements.

       Accordingly, the Revised Bulletin is not a legislative rule and did not require notice-and-

comment rulemaking.

III.   ANY RELIEF SHOULD BE APPROPRIATELY TAILORED.

       Plaintiffs are not entitled to relief on any of their claims. But if the Court were to conclude

otherwise, it should at most enter a declaratory judgment, not the injunctive relief that Plaintiffs

request. See Compl. at 21 (prayer for relief).

       “An injunction is a drastic and extraordinary remedy, which should not be granted as a

matter of course.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 165 (2010). Where “a

less drastic remedy” is “sufficient to redress [the plaintiff’s] injury, no recourse to the additional

and extraordinary relief of an injunction [is] warranted.” Id. at 165–66. Here, Plaintiffs have made

no attempt to show that a declaratory judgment would be insufficient to redress their injuries.

       Nor have they attempted to make the traditional showing required for the extraordinary

remedy of injunctive relief. eBay Inc. v. MercExchange, L.L.C., 547 U.S. 388, 391 (2006)

(identifying four factors plaintiffs must show to establish entitlement of injunctive relief). That

omission alone is reason enough to withhold injunctive relief. See Bluefield Water Ass’n, Inc. v.

City of Starkville, Miss., 577 F.3d 250, 253 (5th Cir. 2009) (injunction “should not be granted

unless the party seeking it has clearly carried the burden of persuasion on all [four] requirements”).

But even if that were not the case, for the reasons explained above, the equities do not favor

injunctive relief here. Plaintiffs and their members do not claim to be irreparably harmed. And in

the entirely hypothetical event that OCR were to determine that any of them were out of

compliance with HIPAA and initiate an enforcement action, they would have the benefit of a




                                                 44
    Case 4:23-cv-01110-P Document 51 Filed 03/21/24                Page 55 of 57 PageID 1035



lengthy administrative process followed by judicial review, which would provide them a full

opportunity to raise their challenge to the HIPAA Rules’ application to tracking technologies on

unauthenticated webpages before facing any legal consequences for potential violations of the

HIPAA Rules.       On the other hand, there is substantial public interest in preventing the

impermissible disclosure of PHI and the resulting loss of privacy for individuals, which itself is

irreparable, tipping the balance of the equities against entering an injunction. 8

                                          CONCLUSION

        For the foregoing reasons, the Court should deny Plaintiffs’ motion for summary judgment

and grant Defendants’ motion for summary judgment.

Dated: March 21, 2024                          Respectfully submitted,

                                               BRIAN M. BOYNTON
                                               Principal Deputy Assistant Attorney General
                                               Civil Division

                                               ERIC B. BECKENHAUER
                                               Assistant Director
                                               Civil Division, Federal Programs Branch

                                               /s/ Leslie Cooper Vigen
                                               LESLIE COOPER VIGEN
                                               Senior Trial Counsel (D.C. Bar No. 1019782)
                                               United States Department of Justice
                                               Civil Division, Federal Programs Branch
                                               1100 L Street, NW
                                               Washington, DC 20005
                                               Tel: (202) 305-0727


8
  Plaintiffs also request that the Court “set aside” the challenged portion of the Revised Bulletin.
Compl. at 21. To the extent that request amounts to a request for vacatur of the challenged portion
of the Revised Bulletin, Defendants recognize that the Fifth Circuit has held that vacatur is
generally an appropriate remedy in an APA action, see Data Mktg. P’ship v. U.S. Dep’t of Labor,
45 F.4th 846, 859 (5th Cir. 2022), but expressly preserve all arguments that the APA does not
permit vacatur, particularly on a universal basis. See United States v. Texas, 143 S. Ct. 1964, 1980
(2023) (Gorsuch, J., concurring in the judgment, joined by Thomas and Barrett, JJ.) (noting that
the Court has never squarely decided whether vacatur is a permissible remedy if a rule is held
invalid under the APA).


                                                  45
Case 4:23-cv-01110-P Document 51 Filed 03/21/24    Page 56 of 57 PageID 1036



                                  Fax: (202) 616-8470
                                  Email: leslie.vigen@usdoj.gov

                                  Counsel for Defendants




                                    46
 Case 4:23-cv-01110-P Document 51 Filed 03/21/24                Page 57 of 57 PageID 1037



                                CERTIFICATE OF SERVICE

       I hereby certify that on March 21, 2024, I electronically filed this document with the Clerk

of the Court for the United States District Court for the Northern District of Texas by using the

CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.

                                                            /s/ Leslie Cooper Vigen
